
MR. JUSTICE GULBRANDSON
delivered the Opinion of the Court.
Rodney Nick, a disabled veteran, appeals an order of the District Court, of the First Judicial District, Lewis and Clark County, granting the State’s motion for judgment on the pleadings. The District Court found that the veterans’ preference was a gratuity, repealable or amendable at any time, rather than a constitutionally protected property right; that the retroactive repealer in the newer statute did not require a two-thirds vote by the Legislature to repeal the old law and bar claims under it. We affirm.
Nick is a veteran of both World War II and the Korean conflict. He was employed as a Bureau Chief with the Montana Department of Highways from 1978 to 1981. In 1981, Nick was laid-off as part of the Department’s “reduction in force.” He then applied for two other similar jobs available in that Department but did not receive either.
Nick filed a petition for damages and requested the court issue an order that defendant show cause why plaintiff should not be employed by the Department of Highways, on the grounds that his veterans’ preference right was not considered in his dismissal or in his two subsequent applications for employment. The court granted the Department of Highways’ motion for judgment on the pleadings on April 17, 1984. The District Court determined that the Montana Legislature, in Chapter 1, Section 14, Laws of 1983, passed in the 1983 Special Session (hereinafter Section 14) effectively repealed the veterans’ preference statute and that this repeal applied retroactively to bar Nick’s claim because it had not been reduced to judgment.
*170After Nick appealed, the State requested an extension of time because the issues raised by Nick’s appeal were pending before this Court in Conboy v. State of Montana (Mont. 1985), [214 Mont. 492,] 693 P.2d 547, 42 St.Rep. 120. Both Nick and the Department of Highways filed amicus briefs in Conboy. After this Court affirmed the constitutionality of Section 14, Nick continued to press his appeal.
The issues Nick presents are:
(1) That Section 14 deprives Nick of property without due process of law in violation of Article 2, Section 17 of the Montana Constitution and the Fourteenth Amendment of the United States Constitution.
(2) That Section 14, by treating Nick differently than other veterans and handicapped persons, denies him equal protection of the laws guaranteed by Article 2, Section 4 of the Montana Constitution and the Fourteenth Amendment of the United States Constitution.
(3) That Section 14 is invalid under Article 2, Section 14 of the Montana Constitution because it bars Nick’s suit for injury to property and it failed to receive the necessary two-thirds vote of all of the members of the House of Representatives.
This is another case following the wake of our decision in Crabtree v. Montana State Library (Mont. 1983), [204 Mont. 398,] 665 P.2d 231, 40 St.Rep. 963. In Crabtree, we determined that the preference in hiring and firing accorded to qualified veterans and disabled persons by Section 10-2-203, MCA, was absolute. Subsequently, Governor Schwinden called a Special Session of the 1983 Montana Legislature to address the situation created by Crabtree. The Legislature passed a bill retroactively repealing the statutes interpreted in Crab-tree and prospectively making the preference accorded veterans and disabled persons a tie-breaking device. See Ch. 1, 48th Sp. Session, Laws of Montana, Dec. 1983. The portion of the Veterans’ Preference Act that is directly addressed in this case is Section 14, which states:
“Sections 10-2-201 through 10-2-206, MCA, are repealed. This repeal applies retroactively to bar any claim of violation or application of 10-2-201 through 10-2-206 that has not been reduced to judgment, whether or not the judgment is final, on [the effective date of this act]. Claims under 10-2-201 through 10-2-206 that have been reduced to judgment, whether or not the judgment is final, on [the effective date of this act] are enforceable. No claim for a violation of *17110-2-201 through 10-2-206 may be made under [Section 8] of this act.” (Effective date December 20, 1983.)
The Act passed the House of Representatives by a vote of 66-33, with one member absent and not voting. Legislative records disclose that, at the time of the Special Session, approximately fourteen lawsuits were pending against the State based on this Court’s interpretation of Section 10-2-203, MCA, in Crabtree. The legislative history of Section 14 shows that the Legislature was unequivocal in its aim to bar those pending claims. Minutes of the meeting of the House Judiciary Committee on December 13, 1983, P. 15, point out the Legislature’s intent:
“CHAIRMAN BROWN introduced a second amendment to bar any claims pending under the preference rule:
“He said his concern arose yesterday when Superintendent Koke, from the East Helena Schools, described the situation they were in concerning the decisions they made after the Crabtree case to hire all veterans because five of seven people who had applied for employment were veterans and there were only five positions available. Essentially, what this amendment does is bar any claims pending except those that are pending final judgment. Senator Mazurek indicated in testimony that there were only one or two cases at the judgment stage. Representative Keyser seconded the motion.
“REPRESENTATIVE HANNAH asked John McMaster what the discussion was in the interim committee on this particular issue. Can the legislature go back and take away the rights of people who have already filed under the current statutes? John McMaster stated that the only thing that is really questionable is whether we can take away a judgment that is already conclusive.
“REPRESENTATIVE HANNAH asked John what was the point he had made during the interim committee hearing that said, in effect, that it was questionable whether or not you could go back and take away rights that somebody had under the previous law. Mr. McMaster said that what he was saying was limited to the right to file where a judgment had already been made. Generally speaking, if you have a statutory right and a statutory methods [sic] of enforcing that right, and the whole statute is repealed, then that right is lost even if a lawsuit is filed.”
In Conboy, [204 Mont. 348,] 693 P.2d 549, we ruled on the validity of Section 14. Conboy involved a complaint of wrongful discharge by a former deputy clerk of the Supreme Court who was not reap*172pointed to that position. We upheld the district court’s granting of summary judgment to the State because Conboy never legally held the job before he was discharged. Conboy also alleged that he was not granted his veterans’ preference in his discharge. We observed in Conboy:
“In substance, the District Court held that the veterans’ preference was a government gratuity which was repealable by the legislature at any time by a majority vote. We adopt the analysis of veterans’ preference rights in State ex rel. Dolan v. Civil Service Bur. of St. Paul (1972), 293 Minn. 477, 197 N.W.2d 711, 714, where the Minnesota Supreme Court stated:
“ ‘Veterans’ preference rights are not rights that have been earned through years of service to the state. They are a gratuity, given to the class of persons to show the state’s appreciation for service in the Armed Forces of the United States, and they do not amount to vested rights in the recipients .... Therefore, a veterans’ preference right can be adjusted when and as the legislature sees fit without violating any vested rights.’ (Citations omitted.) We hold that the veterans’ preference rights granted under the repealed portion of the Veterans Preference Act are not rights earned through years of service to the state, but are a gratuity given to citizens of Montana by the State to show its appreciation for service in the Armed Forces. They do not amount to rights vested in the veterans.” Conboy, 693 P.2d at 552.
Nick argues that Conboy and Dolan are distinguishable from the case at bar because neither involved a situation where a veteran had claimed (or “accepted”) his statutory preference, only to have it retroactively taken by the legislature. In Conboy, the plaintiff had not claimed the preference prior to filing his complaint. In Dolan, the Minnesota Supreme Court only upheld the legislature’s power to prospectively modify the preference scheme. This distinction is legally significant and, for that reason, we must go beyond Conboy and examine Nick’s due process claim in light of his situation.
As presented in this case, the dispositive question is: What, for due process purposes, is the nature of a claimed veterans’ preference? Nick’s equal protection argument also hinges on this inquiry.
The due process clause in the Fourteenth Amendment to the United States Constitution, and in Section 17, Article 2 of the Montana Constitution provides that the state may not deprive a person of life, liberty, or property without “due process of law.” This poses the question of whether “claiming” or “accepting” a veterans’ pref*173erence creates a property interest sufficiently great to hold sway over the legislature’s power to retract the same.
Nick suggests two ways in which he acquired a property interest in his preference; by contract or by reliance. Neither of these convince us that Nick had an interest the legislature was powerless to revoke absent “just compensation.”
For Nick’s first argument, we reaffirm the position we adopted in Conboy that the veterans’ preference is a gratuity, not a contractual right. This Court held that veterans did not acquire any rights beyond those of other citizens for their service in the Armed Forces. Conboy, 693 P.2d at 552. The United States Supreme Court expressly rejected the same contractual right argument in United States v. Teller (1883), 107 U.S. 64, 2 S.Ct. 39, 27 L.Ed. 352. This principle was reaffirmed in Lynch v. United States (1934), 292 U.S. 571, 54 S.Ct. 840, 78 L.Ed. 1434, where that Court reasoned:
“Pensions, compensation allowances, and privileges are gratuities. They involve no agreement of parties; and the grant of them creates no vested right. The benefits conferred by gratuities may be redistributed or withdrawn at any time in the discretion of Congress.” (Citations omitted.) 292 U.S. at 577, 54 S.Ct. at 842.
Noting that this principle has never been overruled or modified, the Ninth Circuit Court of Appeals, in Monaco v. United States (9th Cir. 1975), 523 F.2d 935, cert. den. 424 U.S. 914, 96 S.Ct. 1114, 47 L.Ed.2d 319, upheld the constitutionality of the “Dual Compensation Act of 1964,” 5 U.S.C. Sections 3501-3503. That Act revoked preferences originally granted to veterans by the “Veterans’ Preference Act of 1944” (originally codified at 5 U.S.C. Section 861 et. seq.) In Monaco, “the plaintiffs . . . were threatened with loss of their civil service jobs as a consequence of a substantial reduction in force at the [military facility].” 523 F.2d at 937. Addressing the veterans’ argument that they were unconstitutionally denied rights vested under the Veterans’ Preference Act, the court noted:
“. . . [W]hatever anticipations a serviceman entertained between 1944 and 1964 with respect to preferential advantage in the federal civil service were no more than some sort of floating expectancy entirely dependent upon the Government’s bounty. A claim of unconstitutional deprivation cannot be built upon this foundation.” 523 F.2d at 940. See also Kizas v. Webster (D.C.Cir. 1983), 707 F.2d 524 and Mack v. United States (Ct. of Claims 1980), 635 F.2d 828.
Nick does not have a reliance interest in the veterans’ preference unless and until it is actually received. Before that point, Nick *174did not incur any direct, specific financial detriment in gaining the status of a veteran — the cost of war and the armed services falls on all shoulders, albeit on some more heavily than others. The preference was given by the legislature to those more heavily saddled with that burden for public purposes.
For a reliance interest to be valid, it must be reasonable. We held in Conboy that veterans acting under the veterans’ preference statute did so in contemplation of the legislature’s power of repeal and cited Section 1-2-110, MCA:
“Any statute may be repealed at any time except when it is otherwise provided therein. Persons acting under any statute are deemed to have acted in contemplation of this power of repeal.” 693 P.2d at 552.
Along this line, Nick argues that Article II, Section 35 of the Montana Constitution requires this Court to find that the veterans’ preference is, in Montana, more than a gratuity. That Section states: “The people declare that Montana servicemen, servicewomen, and veterans may be given special considerations determined by the legislature.”
Our reading of this provision is that it is permissive and does not provide an independent, substantive ground for finding that the veterans’ preference has any greater incidents of property than that found in Conboy, Dolan or the federal cases discussed above. The meaning of the above clause and the context of the term “special considerations” lead us to the conclusion that the use of the word consideration was not meant as implying a term of art from contract law. This is supported by the minutes of discussion of the above clause at the Constitutional Convention. Delegate McKeon, who proposed Section 35 stated that:
“. . . [T]his section is a permissive section to be added to the Bill of Rights, allowing the Legislature to give special consideration to veterans of wars . . .
“I think that we should include a section of this nature in the Bill of Rights to give the Legislature an impetus to try and help these individuals . . . “ (Emphasis added.) Vol. VI, Montana Constitutional Convention, verbatim transcript, p. 1842.
Section 35 is permissive, laudatory and suggestive in nature, and was designed to remove any other constitutional impediment that might stand in the way of the preferential treatment of veterans.
Nick also contended at oral argument that the statement in White v. State of Montana (Mont. 1983), [203 Mont. 363,] 661 P.2d 1272, *1751275, 40 St.Rep. 507, 510, that “all persons have a speedy remedy for every injury” is an independent ground for his lawsuit. This language alone does not provide Nick a new cause of action not otherwise recognized. Further, White is distinguishable from the case at bar in that here, as discussed above, no fundamental right is burdened.
This result is supported by Jensen v. State of Montana (Mont. 1984), [213 Mont. 84,] 689 P.2d 1231, 41 St.Rep. 1971, holding that the remedy for denial of the statutory preference alone, (i.e. absent the other elements of wrongful discharge or discrimination) is a writ of mandamus directing the hiring agency to re-open the application process and fill the vacancy in accordance with Crabtree.
This brings us to Nick’s argument that Section 14 offends the equal protection clauses of the Fourteenth Amendment to the United States Constitution, and Article II, Section 4 of the Montana Constitution. In order for this Court to apply a strict scrutiny analysis to this claim, Nick must show that Section 14 either burdens a fundamental right or involves a suspect class. Oberg v. City of Billings (Mont. 1983), [207 Mont. 277,] 674 P.2d 494, 40 St.Rep. 2034. Otherwise, Section 14 survives review if the legislature has a rational basis for its action.
Nick argues that Section 14 created three classes of veterans: (1) those who received the full Crabtree preference; (2) his class, those who were denied the preference post- Crabtree but failed to obtain a judgment before Section 14 took effect and received nothing; and (3) those who received the tie-breaker preference articulated in Section 14. These classes do not involve a suspect criteria such as race, nationality or alienage, so a strict scrutiny analysis is not required. The legislative history of Section 14 shows the legislature’s valid and rational reasons for its actions. Testimony indicated that many governmental bodies were thrust into difficult situations by the Crab-tree decision after interpreting the preference statutes differently for decades. Legislators voiced concerns of fiscal integrity, employee competence, and academic freedom. Ch. 1, Laws 1983, including Section 14, was a rational response to these legitimate concerns.
The legislature’s giving of a veterans’ preference does not cause that preference to be a fundamental right, as discussed in the first issue. This government gratuity fits within one group of statutory rights discussed by Professor Charles B. Hochman in his article, The Supreme Court and the Constitutionality of Retroactive Legislation, 73 Harv.L.Rev. 692 (1960):
*176“There are two special types of statutory right which may be altered or repudiated at any time until the benefits conferred by them are actually received. The first of these embraces rights arising from statutes granting gratuities from the government. The Court has said that the general principle governing such statutes is that ‘benefits conferred by gratuities may be redistributed or withdrawn at any time in the discretion of Congress.’ [Citing Lynch, 292 U.S. at 577, 54 S.Ct. at 842.]
“The key element in both the gratuity and penalty cases appears to be the absence of any financial cost in the acquisition of the right based upon the original statute. [Citing Steamship Co. v. Joliffe (1865), 69 U.S. (2 Wall.) 450, 17 L.Ed. 805.]
“It should be stressed that the reliance required to remove a right from the category of gratuity or penalty is a financial detriment in the acquisition of the right, and not merely reliance on the right after it accrues, as, for example, the making of a financial commitment in reliance upon the statute. The reason for this stricter requirement is probably similar to that encountered in the cases sustaining the extension of statutes of limitations; the penalty or gratuity is given by a statute for public purposes which are not controlled by the merits of the donee’s claim to the right. Under these circumstances, the Court is reluctant to permit the donee to obstruct a reassessment of these purposes by the legislature.” (Emphasis added.) 73 Harv.L.Rev. at 724-726.
Again, no strict scrutiny analysis applies since Section 14 does not burden a fundamental right and the legislature’s reasons for its actions, articulated above,- satisfy the rational basis test.
Finally, Nick argues that Section 14 failed to garner the Constitutionally required two-thirds vote of the House of Representatives, and is thus invalid; see Art. II, Sec 18, Mont.Const. We affirm the following holding in Conboy: “We conclude that the legislature properly could repeal the veterans’ preference by a majority vote at any time . . . “ 693 P.2d at 552, 42 St.Rep. at 127.
The District Court’s order is affirmed.
MR. CHIEF JUSTICE TURNAGE and MR. JUSTICES HARRISON and WEBER, and the HON. THOMAS C. HONZEL, District Judge, sitting for MR. JUSTICE HUNT concur.
